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  4
  5    [Additional counsel appearing on signature page]

  6                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
  7                                    OAKLAND DIVISION
  8
1. 9    ABANTE ROOTER AND PLUMBING,
        INC., individually and on behalf of all others
10      similarly situated,                                  Case No. 4:19-cv-07966-JST

2.11                          Plaintiff,
                                                CERTIFICATE OF SERVICE OF
3.12    v.                                      PLAINTIFF’S REQUEST FOR ENTRY
4.13    UNLOCKED BUSINESS STRATEGIES,           OF DEFAULT AGAINST NON-
        INC., a New York corporation, THOMAS R. APPEARING DEFENDANTS
14      COSTA, an individual, and MERCHANT
        INDUSTRY, LLC d/b/a SWIPE4FREE, a
15      New York limited liability company,

 16                           Defendants.
5.                                                  6.
 17
              I, Taylor T. Smith, hereby certify that on July 2, 2020, I served a copy of the following
18
       documents: Plaintiff’s Request for Entry of Default Against Non-Appearing Defendants,
19
       Affidavit Of Taylor T. Smith In Support of Plaintiff’s Entry of Default Against Non-Appearing
20
       Defendants, and Proposed Clerk’s Entry of Default Against Non-Appearing Defendants upon all
21
       defendants by placing a copy of each in a postage-paid envelope addressed to the parties stated
22
       below, which is the last known address of said parties, and deposited said envelopes in the United
23
       States mail.
24
25            Addressee:     Unlocked Business Strategies, Inc.
                             c/o United States Corporation Agents, Inc.
26                           7014 13th Ave., Suite 202
                             Brooklyn, NY 11228
27
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                                                         1
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 1
                           Thomas R. Costa
 2                         32 Crane Neck Road
                           East Setauket, NY 11733
 3
                           Merchant Industry, LLC
 4                         36-36 33rd Street, Suite 306
 5                         Long Island City, New York 11106

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 7
     Dated: July 2, 2020                       /s/ Taylor T. Smith
 8                                             Taylor T. Smith
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